Case 1:20-cv-00985-GBW Document 273 Filed 10/04/23 Page 1 of 5 PageID #: 5536



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

     ACADIA PHARMACEUTICALS INC.,                       )
                                                        )
                   Plaintiff,                           )
                                                        )
                         v.                             )    C.A. No. 1:20-cv-00985-GBW
                                                        )
                                                        )    (Consolidated)
     AUROBINDO PHARMA LIMITED, et al.,                  )
                                                        )
                   Defendants.                          )

              MSN’S MOTION FOR LEAVE TO RESPOND TO PLAINTIFF’S
                      NOTICE OF SUBSEQUENT AUTHORITY

        Pursuant to Local Rule of Civil Practice and Procedure of the United States District Court

for the District of Delaware 7.1.2(b), Defendants MSN Laboratories Pvt. Ltd. and MSN

Pharmaceuticals, Inc. (collectively “MSN”) seek leave to respond to Plaintiff ACADIA

Pharmaceuticals, Inc.’s (“Acadia”) Notice of Subsequent Authority dated September 29, 2023

[D.I. 272, “Acadia’s Notice,” attaching as D.I. 272-1 the September 27, 2023 Trial Opinion in

Allergan USA, Inc. v. MSN Laboratories Private Ltd., et al., C.A. No. 19-1727-RGA (D. Del.)].

        Contrary to Acadia’s misplaced arguments in its Notice regarding Allergan and In re

Cellect, the Allergan opinion was correct to recognize that In re Cellect is dispositive on the legal

issue that a first-filed and first-issued, but later-expiring patent can be invalid under obviousness-

type double patenting (“ODP”) over a later-filed, later-issued, earlier-expiring patent in the same

family. The Federal Circuit was also absolutely clear that the dicta from its In re Cellect opinion

Acadia heavily relies upon had “no basis for consideration.”

        In Allergan, the patent holder made the same argument Acadia makes here: that double

patenting does not apply to earlier-filed patents, and in particular, to first-filed, first-issued patents.




                                                    1
Case 1:20-cv-00985-GBW Document 273 Filed 10/04/23 Page 2 of 5 PageID #: 5537


Judge Andrews rejected that argument and recognized that In re Cellect was clear to hold that only

the expiration dates matter for ODP analysis:

        The “first-filed, first-issued” distinction is immaterial. When analyzing ODP, a
        court compares patent expiration dates, rather than filing or issuance dates. Gilead,
        753 F.3d at 1215-17; In re Cellect, 2023 WL 5519716, at *9. Allergan nevertheless
        proposes that I consider these dates, among other facts, as part of a case-by-case
        review of equitable considerations to determine if a patent owner received an unjust
        time extension and ODP should therefore invalidate a challenged claim. (D.I. 482
        at 5-6). The court in In re Cellect rejected such analysis, holding that ODP
        depends solely on patent expiration dates and should not [be] influenced by
        equitable concerns. “[A]ny extension past [the ODP reference patent’s expiration]
        date constituted an inappropriate timewise extension for the asserted claims of the
        challenged patents.” In re Cellect, 2023 WL 5519716, at *10. “An applicant's
        ability to show that it did not engage in gamesmanship in obtaining a grant of PTA
        is not sufficient to overcome a finding that it has received an unjust timewise
        extension of term.” Id. at * 11. In re Cellect recognizes no exception to the rule
        it announced, whether for first-filed, first-issued claims or otherwise.

Allergan, Trial Opinion at 40 (emphases added), D.I. 272-1.

        Judge Andrews is absolutely correct. In re Cellect recognizes no exception to the rule:

“ODP determination depends on … whether the claims of a later-expiring patent would have been

obvious over the claims of an earlier-expiring patent owned by the same party.” 2023 WL 5519716

at *7. There is no exception to this clear test for ODP.

        In re Cellect then applies the rule to the fact pattern in that case, which it described as

“[h]ere, we have related patents that claim priority from the same application that … claim

overlapping subject matter and that have different expiration dates only because of PTA.” Id. at

*8. The filing dates for these patents are simply not relevant to the Federal Circuit’s application of

the rule.

        To be sure, the Federal Circuit was fully aware of the filing dates for the patents in that

case. Not only did the opinion include a “family tree” of the patents marked with filing dates,

which is included below, the Federal Circuit also acknowledged that the ’036 patent, the latest-


                                                  2
Case 1:20-cv-00985-GBW Document 273 Filed 10/04/23 Page 3 of 5 PageID #: 5538


filed patent in the case, “is a continuation of the [challenged and invalidated] ’626 patent.” Id.

at *1 (emphasis added). Of all the patents involved in that case containing obvious variants of the

same invention, the ’626 patent had the earliest filing date, and it was the first-filed, first-issued

patent that claimed that particular invention with obvious variants. Yet, the Federal Circuit—not

just affirming the patent office decision below, but explaining the rule on ODP further—held that

the ’036 patent would invalidate all asserted claims in the challenged patents. Id. at *10 (any patent

term extending beyond the no-PTA term set by the ’036 patent “constitutes an inappropriate

timewise extension”). Again, there is no exception here for the first-filed, first-issued ’626 patent

claims covering the “obvious variant” invention in that case.




       The invalidated ’369 patent, like the ’626 patent, is a continuation-in-part of the ’255 patent

(earliest patent shown on the family tree). The dashed lines in the diagram above indicate a CIP

relationship. By definition, these CIP patents contain new subject matters not in the ’255 patent.

Therefore, these two patents contain first-filed, first-issued claims in their respective family tree

branches covering these new subject matters. None of this mattered to the Federal Circuit’s

announcement of a clear rule on ODP that only depends on expiration dates, not filing dates. No


                                                  3
Case 1:20-cv-00985-GBW Document 273 Filed 10/04/23 Page 4 of 5 PageID #: 5539


filing date differences factored into the Federal Circuit’s application of the rule on ODP—without

exception—to invalidate the first-filed, first-issued claims covering an invention with obvious

variants.

        Acadia somehow still argues in its Notice that “[i]f there are no earlier-filed, commonly

owned claims, over which the challenged claims are alleged to be later-filed obvious variations,

the consequence of Cellect is that the challenged claims are entitled to the duly granted PTA.”

This argument is directly opposite of the holding in In re Cellect, which is that any first-filed, first-

issued claims covering the invention with obvious variants discussed in that case, which were

found in the ’626 and ’369 patents, were, and should be, invalidated over the later-filed ’036 patent

reference claims covering that invention.

        As a last resort, Acadia ignores the reasoning and holding of In re Cellect, and relies on a

single sentence from the opinion related to claims that were not at issue (“non-asserted claims”),

which is pure dicta. Acadia even ignores the very next sentence in the opinion, by which the

Federal Circuit expressly and clearly notes that “[w]e have no basis for consideration of that

issue here.” 2023 WL 5519716, at *10 (emphasis added). Acadia’s attempt to “distinguish” the

indistinguishable Allergan opinion, including its continuing effort to direct the Court’s attention

away from controlling law and the Federal Circuit’s express holding, and its out-of-context focus

on dicta, are all baseless, and inappropriate.




                                                   4
Case 1:20-cv-00985-GBW Document 273 Filed 10/04/23 Page 5 of 5 PageID #: 5540


       MSN has conferred with Plaintiff and Plaintiff does not object to MSN filing a response to

Acadia’s Notice.

       Counsel for MSN remains available to provide additional briefing on the issues if the Court

would find it useful in addressing MSN’s motion for summary judgment [see D.I. Nos. 257-265],

currently under advisement following oral argument held on September 27, 2023.



Date: October 4, 2023                               Respectfully submitted,

                                                    SEITZ, VAN OGTROP & GREEN, P.A.

                                                    /s/ James S. Green, Jr.

                                                    James S. Green, Jr. (DE 4406)
                                                    222 Delaware Avenue, Suite 1500
                                                    Wilmington, DE 18901
                                                    302.888.7607
                                                    jsgreen@svglaw.com

                                                    Shashank Upadhye (pro hac vice)
                                                    Yixin Tang (pro hac vice)
                                                    Brent Batzer (pro hac vice)
                                                    UPADHYE TANG LLP
                                                    109 Symonds Drive, #174
                                                    Hinsdale, IL 60522
                                                    312.598.2610
                                                    shashank@ipfdalaw.com
                                                    yixin@ipfdalaw.com
                                                    brent@ipfdalaw.com

                                                    Attorneys for MSN




                                                5
